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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



UNITED STATES OF AMERICA

V.                                                         l:18-cr-442(TCB)

JOSE VASQUEZ-CHICA,

        Defendant.



                                         ORDER


        Due to the national emergency resulting from the spread ofthe Corona virus and in

compliance with General Orders 2020-2,2020-3, and 2020-6, it is hereby

        ORDERED that the plea and sentencing hearing scheduled for Thursday, March 26,2020

be and is CANCELLED until further notice.

        Should the defendant and his counsel wish to proceed with the plea and sentencing

hearing by video,that may be possible, depending on the availability ofthe video conferencing

facilities and the defendant's and defense counsel's waiver ofthe defendant's right to be

physically present in the courtroom for such proceeding.

        The Clerk is directed to remove this matter from the March 26,2020 docket and forward

copies ofthis Order to counsel ofrecord and the United States Marshals Service.
        Entered this /^V^dav of March,2020.
Alexandria, Virginia




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                                                       Leonie M. Brinkema
                                                       United States District Judge U- tPS
